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     JOSEPH H. HUNT                              Lee Gelernt*
 1
     Assistant Attorney General                  Judy Rabinovitz*
 2   SCOTT G. STEWART                            Anand Balakrishnan*
     Deputy Assistant Attorney General           AMERICAN CIVIL LIBERTIES
 3
     WILLIAM C. PEACHEY                          UNION FOUNDATION
 4   Director                                    125 Broad St., 18th Floor
 5   Office of Immigration Litigation            New York, NY 10004
     WILLIAM C. SILVIS                           T: (212) 549-2660
 6   Assistant Director                          F: (212) 549-2654
 7   Office of Immigration Litigation            lgelernt@aclu.org
     SARAH B. FABIAN                             jrabinovitz@aclu.org
 8   Senior Litigation Counsel                   abalakrishnan@aclu.org
 9   NICOLE MURLEY
     Trial Attorney                              Bardis Vakili (SBN 247783)
10   Office of Immigration Litigation            ACLU FOUNDATION OF
11   U.S. Department of Justice                  SAN DIEGO & IMPERIAL
     Box 868, Ben Franklin Station               COUNTIES
12   Washington, DC 20442                        P.O. Box 87131
13   Telephone: (202) 532-4824                   San Diego, CA 92138-7131
     Fax: (202) 616-8962                         T: (619) 398-4485
14                                               F: (619) 232-0036
15 ADAM L. BRAVERMAN                             bvakili@aclusandiego.org
   United States Attorney
16 SAMUEL W. BETTWY                              Stephen B. Kang (SBN 292280)
17 Assistant U.S. Attorney                       Spencer E. Amdur (SBN 320069)
   California Bar No. 94918                      AMERICAN CIVIL LIBERTIES
18 Office of the U.S. Attorney                   UNION FOUNDATION
19 880 Front Street, Room 6293                   39 Drumm Street
   San Diego, CA 92101-8893                      San Francisco, CA 94111
20 619-546-7125                                  T: (415) 343-1198
21 619-546-7751 (fax)                            F: (415) 395-0950
                                                 skang@aclu.org
22 Attorneys for Federal Respondents-            samdur@aclu.org
23 Defendants
                                                 Attorneys for Petitioners-
24                                               Plaintiffs
25                                               *Admitted Pro Hac Vice
26
27
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 1
                                   UNITED STATES DISTRICT COURT
 2                               SOUTHERN DISTRICT OF CALIFORNIA
 3
           MS. L, et al.,                                       Case No. 18cv428 DMS MDD
 4
 5                     Petitioners-Plaintiffs,
                                                                JOINT STATUS REPORT
 6          vs.
 7
           U.S. IMMIGRATION AND
 8         CUSTOMS ENFORCEMENT, et
 9         al.,

10                     Respondents-Defendants.
11
12
           The Court ordered the parties to file a joint status report (“JSR”) on March 27,
13
14 2019, in anticipation of the status conference scheduled at 1:00pm PST on March
15 28, 2019. The parties submit this joint status report in accordance with the Court’s
16
   instruction.
17
18 I.     DEFENDANTS’ POSITIONS

19       A. Update on Reunifications
20
         As of March 25, 2019, Defendants have discharged 2,749 of 2,814 1 possible
21
22 children of potential class members. See Table 1: Reunification Update. This is an
23
24   1
     Since the last JSR, ORR discovered that two separated children it previously reported as possible
   children of potential class members in ORR care on June 26, 2018 were in fact referred to its care
25 in July 2018. As a result, the true count of such children was 2,814, not 2,816 as previously
26 reported. The two miscounted children, who have both been discharged from ORR care, will be
   added to the count of new, post-June 26, 2018 separations reported to Plaintiffs. Notwithstanding
27 this correction, this JSR describes updates in reference to the numbers reported on March 6, 2019.

28

                                                    1                                  18cv428 DMS MDD
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     increase of eight discharges reported in Table 1 since the JSR filed on March 6, 2019.
 1
 2 See ECF No. 382. Four of the eight children were discharged by being reunified with
 3
     their separated parent; and the remaining four were discharged under other
 4
 5 appropriate circumstances, such as discharges to other appropriate sponsors.
 6         Table 1 shows that, as of the date that the table was generated, there were five
 7
     children in ORR care proceeding towards reunification or other appropriate
 8
 9 discharge. Since the table was generated, however, one of these five children was
10 reunified with his separated parent earlier this week. 2 This reunification occurred
11
     after Defendants generated the data for this report, and will be reflected in the next
12
13 JSR. The current status of the four remaining children is as follows:
14              One child has a parent who is in the United States, but who is unavailable
15
                   because the parent is in other federal, state, or local custody. Defendants
16
17                 are working to appropriately discharge the child, and to identify any

18                 possible barriers to discharge, meeting and conferring with Plaintiffs
19
                   where appropriate for resolution. The other child was reunified with his
20
21                 separated parent earlier this week

22              Three children have parents who departed from the United States. The
23
                   Steering Committee has not yet provided notice of parental intent
24
25                 regarding reunification (or declination of reunification) for two of these
26
     2
27       The child is reflected in Table 1 as having a parent presently in the United States.

28

                                                         2                                      18cv428 DMS MDD
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                 children. For the third child, the Steering Committee has advised
 1
 2               Defendants that it is unable to obtain the parent’s preference, and regards
 3
                 this case as resolved for its purposes. Defendants are supporting the efforts
 4
 5               of the Steering Committee to obtain statements of intent from the parents

 6               of the first two children. Once Defendants receive the notices from the
 7
                 Steering Committee, Defendants will either reunify the children or move
 8
 9               them into the TVPRA sponsorship process, consistent with the intent of

10               the parent. 3
11
                                  Table 1: Reunification Update
12
                                                                Phase 1   Phase 2
13                         Description                          (Under 5) (5 and Total
                                                                          above)
14
         Total number of possible children of potential   107                    2707        2814
15       class members
                                      Discharged Children
16
         Total children discharged from ORR care:                   106         2643         2749
17
18             • Children discharged by being                       82           2077        2159
                 reunified with separated parent
19             • Children discharged under other
20               appropriate circumstances (these
                 include discharges to other sponsors
21               [such as situations where the child’s              24           566         590
22               separated parent is not eligible for
                 reunification] or children that turned
23               18)
24
25   3
     After generating this report, Defendants received notice from the Steering Committee that it will
26 not be submitting an indication of parental preference with respect to another parent, and plans to
   report the case as resolved. This update will be reflected in the next JSR, and in Defendants’
27 separate report to Plaintiffs this week.
28

                                                    3                                   18cv428 DMS MDD
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                         Children in ORR Care, Parent in Class
 1
     Children in care where the parent is not eligible
 2   for reunification or is not available for             0           5          5
     discharge at this time:
 3
 4   • Parent presently outside the U.S.               0         3                3
           o Steering Committee has advised that       0         2                2
 5            resolution will be delayed
 6         o Steering Committee could not obtain       0         1                1
              parental preference
 7   • Parent presently inside the U.S.                0         2                2
 8         o Parent in other federal, state, or local  0         1                1
              custody
 9         o Parent red flag case review ongoing –     0         0                0
10            safety and well being
11                     Children in ORR Care, Parent out of Class
     Children in care where further review shows
12   they were not separated from parents by DHS       1         10              11
13   Children in care where a final determination
     has been made they cannot be reunified                0          16         16
14   because the parent is unfit or presents a danger
     to the child
15   Children in care with parent presently departed
     from the United States whose intent not to            0          30         30
16   reunify has been confirmed by the ACLU
     Children in care with parent in the United
17   States who has indicated an intent not to             0           3          3
     reunify
18
19
       B. Update on Removed Class Members
20
21     The current reunification status of removed class members is set forth in Table 2
22 below. The data presented in this Table 2 reflects approximate numbers maintained
23
   by ORR as of at least March 25, 2019. These numbers are dynamic and continue to
24
25 change as the reunification process moves forward.
26
27
28

                                              4                            18cv428 DMS MDD
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                Table 2: Reunification of Removed Class Members
 1
 2   REUNIFICATION REPORTING METRIC                        NO.    REPORTING
     PROCESS                                                      PARTY
 3   STARTING      Children in ORR care with                 33
     POPULATION    parents presently departed                     Defs.
 4
                   from the U.S.
 5
     PROCESS 1:
 6   Identify & Resolve Children with no “red flags”         33   Defs.
     Safety/Parentage   for safety or parentage
 7   Concerns
 8   PROCESS 2:           Children with parent contact
     Establish Contact    information identified             33   Defs.
 9   with Parents in
     Country of Origin    Children with no contact
10                        issues identified by plaintiff     33   Defs. & Pls.
                          or defendant
11                        Children with parent contact
                          information provided to            33   Defs.
12                        ACLU by Government
13
     PROCESS 3:           Children for whom ACLU
14   Determine            has communicated parental          30   Pls.
     Parental Intention   intent for minor:
15   for Minor
                             • Children whose parents        30   Pls.
16                             waived reunification
17                           • Children whose parents
                                chose reunification in       0    Pls.
18
                                country of origin
19                           • Children proceeding
20                              outside the                  0    Pls.
                                reunification plan
21                        Children for whom ACLU
                          has not yet communicated           2    Pls.
22                        parental intent for minor:
23                           • Children with
                                voluntary departure          0    Defs.
24                              orders awaiting
25                              execution
                             • Children with parental        0    Defs.
26                              intent to waive
27
28

                                           5                             18cv428 DMS MDD
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 1                                reunification
                                  documented by ORR
 2                            • Children whose parents
 3                                ACLU has been in
                                  contact with for 28 or    0   Pls.
 4                                more days without
 5                                intent determined
                           Children whose parents
 6                         steering committee could not     1   PIs
                           obtain parental preference
 7
     PROCESS 4:            Total children cleared
 8   Resolve               Processes 1-3 with confirmed     0   Pls.
     Immigration           intent for reunification in
 9   Status of Minors to   country of origin
     Allow                     • Children in ORR care
10   Reunification
                                  with orders of            0   Defs.
11                                voluntary departure
                               • Children in ORR care
12                                                          0   Defs.
                                  w/o orders of voluntary
13                                departure
                                    o Children in ORR
14
                                       care whose           0   Defs.
15                                     immigration cases
16                                     were dismissed

17
18
19
20
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23
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26
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28

                                           6                           18cv428 DMS MDD
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           C. Update Regarding Government’s Implementation of Settlement
 1
              Agreement
 2
             SETTLEMENT                     DESCRIPTION                       NUMBER
 3              PROCESS
         Election Forms 4              Total number of executed         347 (222 Parents/125
 4                                     election forms received               Children)5
                                       by the Government
 5
                                          • Number who elect            190 (122 Parents/68
                                                                             Children)
 6                                            to receive
                                              settlement
 7
                                              procedures
 8                                        • Number who                  157 (100 Parents/57
                                                                             Children)6
 9                                            waive settlement
                                              procedures
10       Interviews                    Total number of class                     1397
                                       members who received
11                                     interviews
12                                        • Parents who                            73
                                              received
13                                            interviews
14                                        • Children who                           66
                                              received
15
                                              interviews
16       Decisions                     Total number of CFI/RFI                    66 8
                                       decisions issued for
17                                     parents by USCIS
18   4
     The number of election forms reported here is the number received by the Government as of
19 March   18, 2019.
   5
     The number of children’s election forms is lower than the number of parent election forms
20 because in many instances a parent electing settlement procedures submitted an election form on
21 his or her own behalf or opposing counsel e-mailed requesting settlement implementation for the
   entire family, but no separate form was submitted on behalf of the child.
22   6
     The number of children’s waivers is lower because some parents have submitted waivers only
   for themselves and some parents who have waived reunification also waived settlement procedures
23 and have therefore not provided a form for the child.
24   7
       Some individuals could not be interviewed because of rare languages; these individuals were
     placed in Section 240 proceedings.
25
     8
         This number is the aggregate of the number of parents whose negative CFI/RFI determinations
26 were reconsidered, number of parents whose negative CFI/RFI determination was unchanged, and
     individuals who were referred to 240 proceedings without interview because of a rare language.
27
28

                                                     7                                  18cv428 DMS MDD
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                                        • Number of parents                       66 9
 1
                                            determined to
 2                                          establish CF or RF
 3                                          upon review by
                                            USCIS
 4                                      • Number of parents                        0
 5                                          whose CF or RF
                                            finding remains
 6                                          negative upon
 7                                          review by USCIS
                                     Total number of CFI                         73 10
 8                                   decisions issued for
                                     children by USCIS
 9                                      • Number of                              73 11
10                                          children
                                            determined to
11                                          establish CF by
12                                          USCIS
                                        • Number of                                0
13                                          children
14                                          determined not to
                                            establish CF by
15                                          USCIS
16    Removals                       Number of class                        99 Parents12
                                     members who have been
17                                   returned to their country
                                     of origin as a result of
18                                   waiving the settlement
                                     procedures
19
     This number excludes 12 cases where a parent already had an NTA from ICE or was already
20 ordered removed by an IJ (which are included in the interview totals).
21 9 This number includes parents who received positive CF/RF determinations upon reconsideration,
     parents who received a Notice to Appear based on their child’s positive CF determination, and
22 parents who were placed in Section 240 proceedings due to a rare language.
23 10 This number is the aggregate of the number of children who received a positive CF
     determination, the number of children who received a negative CF determination, and children
24 who were referred to 240 proceedings without interview because of a rare language.
25 11 This number includes children who received a positive CF determination, children who received
     a Notice to Appear as a dependent on their parent’s positive CF determination, and children who
26 were placed in Section 240 proceedings due to a rare language.
27 12 This number is as of March 23, 2019.
28

                                                   8                                   18cv428 DMS MDD
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 1
        D. March 8, 2019 Order Regarding Class Definition
 2
           On March 19, 2019, the parties met and conferred regarding the Court’s
 3
 4 March 8, 2019 order expanding the class definition in this case. In that call, Plaintiffs
 5
     requested that Defendants provide an accounting of the members of the expanded
 6
 7 class along with any known contact information for class members. Also during that
 8 call, Plaintiffs agreed, in response to a request from Defendants, that Plaintiffs will
 9
     inform Defendants right away if Plaintiffs become aware of any members of the
10
11 expanded class who has no contact with their separated child. Plaintiffs stated that
12 they are not aware of any parent in this situation.
13
           Both in advance of that call, and in response to the parties’ discussions,
14
15 Defendants have continued to discuss internally the best way to most quickly and
16 efficiently identify members of the expanded class. Defendants intend to hold
17
     another call with Plaintiffs on this issue next week, and Defendants ask that the Court
18
19 allow the parties to continue to meet and confer on this issue, as well as the question
20 of what, if any, relief should be provided to this expanded class and/or whether
21
   briefing is necessary to resolve this issue. Defendants propose that they will submit
22
23 a proposal to the Court with regard to next steps on or before April 5, 2019.
24      E. Pending Motion Regarding Released Settlement Class Members
25
           Defendants provided Plaintiffs with the requested list of individuals who
26
27 potentially had final orders of expedited removal on February 28, 2019. Plaintiffs
28

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     sent a follow-up inquiry regarding this list of individuals on March 23, 2019, and the
 1
 2 parties met and conferred by phone on March 27, 2019. The parties will continue to
 3
     meet and confer on this issue in the hopes that it can be resolved without further
 4
 5 involvement of the Court.
 6      F. Children Awaiting Placement.
 7
           On February 12, 2019, Plaintiffs provided Defendants a list of 22 children
 8
 9 who Plaintiffs believed were awaiting placement with a sponsor after their parent
10 waived reunification. On February 16, 2019, Defendants provided Plaintiffs with
11
     information about each of these 22 children. Plaintiffs have not submitted any
12
13 follow-up requests with regard to these children.
14      G. Government Processes, Procedures, and Tracking, for Separations Since
15         June 26, 2018.

16            1. Data Requested by Plaintiffs
17
           Defendants have provided Plaintiffs with a report containing information
18
19 regarding parents and children separated since the Court’s June 26, 2018
20 preliminary-injunction order. Defendants intend to provide another update to
21
   Plaintiffs by Friday April 5, 2019.
22
23            2. Processes and Procedures

24         Defendants have provided a summary outline memorializing the processes,
25
     procedures, tracking, and communication between the agencies that have been
26
27 adopted by the agencies since June 26, 2018. The outline also included an overview
28

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     of the options for separated parents and children to obtain information about
 1
 2 reunification options. Defendants also have reached out to representatives for the
 3
     Bureau of Prisons and the U.S. Marshals Service to ensure that those entities are
 4
 5 included in discussions regarding these processes and procedures.
 6         On March 4, 2019, Plaintiffs and lawyers for the children’s legal service
 7
     providers sent comments and questions in response to the government’s proposals.
 8
 9 Defendants are reviewing those comments and questions, and will provide further
10 information to Plaintiffs and the legal service providers soon in response to their
11
     inquiries. Defendants will also provide the Court with an update in the next joint
12
13 status report.
14            H. Additional Information Requests.
15
           Plaintiffs have submitted numerous additional requests for information related
16
17 to various individual class members. Defendants have been working with Plaintiffs
18 to provide the requested information.
19
20     II. MS. L. PLAINTIFFS’ POSITION

21 1.      Relief For Expanded Class Pursuant to This Court’s March 8 Order.
22         Plaintiffs’ aim is to ensure that every separated family has the opportunity to
23 reunite. At this stage, Plaintiffs request that the government identify the families
24 whom it separated on or after July 1, 2017 whose children were released from
25 ORR before June 26, 2018. The government must provide this list to class
26 counsel, along with information in the agencies’ possession as to the parent and
27
28

                                              11                             18cv428 DMS MDD
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 1 child’s location and contact information. Once Plaintiffs are in possession of this
 2 information, they will work with advocacy partners to create a steering
 3 committee—similar to the Deported Parents Steering Committee—that can use the
 4 information to locate, communicate with, and counsel the families regarding their
 5 reunification options. Plaintiffs are willing to work with the Court and Defendants
 6 to develop ultimate timelines to identify Class members but believe the
 7 government must start the process immediately given how long these children were
 8 separated.
 9        The parties met and conferred on March 19, 2019, and Plaintiffs informed
10 Defendants of this position.
   2.     Centralized Database and Procedures and Standards to Govern Further
11
          Separations
12
          The parties are meeting and conferring on how to address the continuing
13
   separations. Plaintiffs have sent the government initial responses to the outline
14
   included in the February 20 JSR.
15
   3.     Information Regarding Parents Separated from Children After June 26
16
          Plaintiffs have requested additional information and clarification from the
17
   government regarding the bases for the post-June 26 separations. These requests
18
   include that the government identify the criminal history it relied upon for some
19
   parents; that the government provide further details of the criminal history it
20
   identified for other parents; and that the government elaborate on separations
21
   explained only as being for “other” reasons. The parties are meeting and conferring
22
   on this issue.
23
   4.     Steering Committee Progress
24
          The Steering Committee has successfully contacted and confirmed the
25
   preferences of nearly all removed parents with respect to reunifications. On March
26
   8, the government reported that, as of March 4, 39 children with removed parents
27
28

                                             12                              18cv428 DMS MDD
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 1 remained in ORR custody. 13 The Committee has delivered preferences for the
 2 parents of 36 of those children, and those children are awaiting placement with
 3 sponsors in accordance with their parents’ submitted preferences. The
 4 circumstances for the remaining three children are as follows: (i) one child’s parent
 5 is seeking to return to the United States under the Settlement Agreement, and (ii)
 6 the Steering Committee has advised the government that no parental preference
 7 will be forthcoming from the parents of the other two children due to complex and
 8 individualized family circumstances.
 9          The status of efforts based on the government’s March 4 list of 39 children
10 in ORR custody with removed parents appears in the table immediately below.
11    Removed parents identified by the government to the Steering             39
12    Committee as of 3/4/2019
13
14    Parent’s final preference has been communicated to the government        36 14
15
          • Parent has elected reunification in Country of Origin              0
16
17        • Parent has elected to waive reunification in Country of Origin     36
18    Total number of cases that the Steering Committee has indicated to       2
19    the government should be set aside
20        • No parental preference will be forthcoming due to complex and      2
21           individualized family circumstances
22    Total number of cases where the parent seeks to return to the U.S.       1
23
     13
      As discussed at the October 25 Status Conference, in this Joint Status Report
24 Plaintiffs are reporting a set of detailed numbers based only on the government’s
25 most recent list of children in ORR custody with removed parents.
            14
26              The Steering Committee determined that for one child it was
   appropriate to report the preference of a non-removed parent because the Steering
27 Committee was unable to reach the removed parent.
28

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 1    under the Settlement Agreement and has thus not yet made an

 2    election

 3
     E. Children Whose Parents Have Submitted Preferences and Are Still Detained
 4
 5                On February 12, the Steering Committee provided to the government
 6 information regarding 22 children who had been in ORR custody for at least five
 7 months following the submission of a final reunification election. The government
 8 provided detailed information regarding these children on February 16, which the
 9 Steering Committee appreciates. According to the government’s March 4 data, 12
10 of these 22 children had then been discharged to a sponsor. The Steering
11 Committee will continue to meet and confer with the Government regarding the
12 remaining children.
13
14
     III.   MMM Plaintiffs’ Position
15
16          As reported in the prior JSR, and per the Court’s February 22, 2019 Order
17 (ECF No. 362), the Government provided Dora and M.M.M. counsel with a list of
18
   class members with removal orders, which includes individuals with either
19
20 expedited removal orders or final removal orders. Plaintiffs’ counsel have examined
21 the list to determine how many of the individuals on the list have provided signed
22
   settlement forms, and have reached the preliminary conclusion (subject to further
23
24 meet and confer with the Government) that less than 25% of the individuals on the
25 list have submitted forms. Plaintiffs’ counsel have also done preliminary research
26
   to determine whether any of the individuals on the list are currently in removal
27
28

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     proceedings. The parties met and conferred on this issue today (March 27), and plan
 1
 2 to continue to exchange information and discuss appropriate next steps, including
 3
     the best way to identify class members who may be in need of settlement relief.
 4
 5
           The parties have also agreed to a proposed amendment to the Court’s
 6
     protective order in Ms. L to clarify and confirm that protected information can be
 7
 8 used for purposes of settlement implementation, which will be important as
 9
     Plaintiff’s counsel continue outreach to settlement class members. A joint motion
10
     will be filed shortly.
11
12
           In addition, the parties continue to work together to implement the settlement
13
14 agreement approved on November 15, 2018. Counsel for Plaintiffs are providing
15 the government with signed waiver forms as they are received from class members
16
   (detained and released). The parties are meeting and conferring on settlement
17
18 implementation issues as they arise, and are working together to resolve (among
19
     other issues) the discrepancy between the number of waiver forms submitted by class
20
     counsel and the number of forms reported by the Government. The parties will alert
21
22 the Court of any issues that require the Court’s guidance.
23
24 DATED: March 27, 2019                   Respectfully submitted,
25
                                           /s/ Lee Gelernt
26                                         Lee Gelernt*
27                                         Judy Rabinovitz*

28

                                             15                             18cv428 DMS MDD
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                                     Anand Balakrishnan*
 1
                                     AMERICAN CIVIL LIBERTIES UNION
 2                                   FOUNDATION
                                     125 Broad St., 18th Floor
 3
                                     New York, NY 10004
 4                                   T: (212) 549-2660
 5                                   F: (212) 549-2654
                                     lgelernt@aclu.org
 6                                   jrabinovitz@aclu.org
 7                                   abalakrishnan@aclu.org

 8                                   Bardis Vakili (SBN 247783)
 9                                   ACLU FOUNDATION OF SAN DIEGO
                                     & IMPERIAL COUNTIES
10                                   P.O. Box 87131
11                                   San Diego, CA 92138-7131
                                     T: (619) 398-4485
12                                   F: (619) 232-0036
13                                   bvakili@aclusandiego.org

14                                   Stephen B. Kang (SBN 292280)
15                                   Spencer E. Amdur (SBN 320069)
                                     AMERICAN CIVIL LIBERTIES UNION
16                                   FOUNDATION
17                                   39 Drumm Street
                                     San Francisco, CA 94111
18                                   T: (415) 343-1198
19                                   F: (415) 395-0950
                                     skang@aclu.org
20                                   samdur@aclu.org
21
                                     Attorneys for Petitioners-Plaintiffs
22                                         *Admitted Pro Hac Vice
23
24                                   JOSEPH H. HUNT
                                     Assistant Attorney General
25
                                     SCOTT G. STEWART
26                                   Deputy Assistant Attorney General
                                     WILLIAM C. PEACHEY
27
28

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                                     Director
 1
                                     WILLIAM C. SILVIS
 2                                   Assistant Director
 3
                                     /s/ Sarah B. Fabian
 4                                   SARAH B. FABIAN
 5                                   Senior Litigation Counsel
                                     NICOLE MURLEY
 6                                   Trial Attorney
 7                                   Office of Immigration Litigation
                                     Civil Division
 8                                   U.S. Department of Justice
 9                                   P.O. Box 868, Ben Franklin Station
                                     Washington, DC 20044
10                                   (202) 532-4824
11                                   (202) 616-8962 (facsimile)
                                     sarah.b.fabian@usdoj.gov
12
13                                   ADAM L. BRAVERMAN
                                     United States Attorney
14                                   SAMUEL W. BETTWY
15                                   Assistant U.S. Attorney

16                                   Attorneys for Respondents-Defendants
17
18
19
20
21
22
23
24
25
26
27
28

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